Case 1:21-cv-21214-MGC Document 13 Entered on FLSD Docket 05/26/2021 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 21-21214-CIV-COOKE/O’SULLIVAN



  LUCAS ALCALA,

        Plaintiff,
  v.

  NPEE L.C., ANDREW SERAFINE,
  and ERIK AGAZIM,

        Defendants.
                                          /

          AMENDED ORDER RE-SCHEDULING SETTLEMENT CONFERENCE
                          (Change in Date Only)

        THIS MATTER is before the Court pursuant to an order of reference entered by

  the Honorable Marcia G. Cooke, United States District Judge, for a settlement

  conference to be conducted by the undersigned, Chief United States Magistrate Judge

  John J. O’Sullivan. As a result of the Court’s Order of Referral, it is hereby ORDERED

  AND ADJUDGED as follows:

        1.      A settlement conference in this matter is scheduled before the
                undersigned for 10:00 A.M., Wednesday, July 14, 2021. The parties shall
                participate in the settlement conference set before the undersigned using
                Zoom. The Court will email counsel the Zoom meeting ID and password.
                ANY PARTY WHO DOES NOT SPEAK ENGLISH MUST BRING A
                PROFESSIONAL INTERPRETER TO THE SETTLEMENT
                CONFERENCE. The plaintiff(s) and the defendant(s) may not share an
                interpreter. The settlement conference previously set for June 9, 2021 is
                CANCELLED.

        2.      The settlement conference shall be attended by all parties, corporate
                representatives, and their counsel of record. All persons named as
                individual parties shall be present and each entity shall have a party
                representative(s) present with full authority to bind the party up to
                and including the full amount claimed as damages plus any
Case 1:21-cv-21214-MGC Document 13 Entered on FLSD Docket 05/26/2021 Page 2 of 2




                applicable attorney’s fees and costs.

          3.    In the event that a monetary settlement would be payable from
                proceeds of an insurance policy, a claims professional/
                representative(s) from the party’s insurer with full and final authority
                to authorize payment to settle the matter up to the full limits of the
                party’s policy(s), shall be present. Failure of a party representative
                with full and final authority to make and accept offers of settlement
                to attend this conference may result in the undersigned’s sua sponte
                recommendation to the District Judge that sanctions be entered
                against the offending party.

          4.    Telephonic attendance will not be considered without the undersigned’s
                prior permission, and unless extraordinary circumstances exist.

          5.    The conference will not be continued absent extremely compelling
                circumstances. Any motion for continuance shall provide dates and
                times that are available for all parties.

          6.    The parties shall take note that in civil actions the Court does not provide
                an interpreter for parties who do not speak English. In the event that a
                party requires an interpreter, it shall be that party’s burden to provide one.
                The parties are further advised that laptop computers are not permitted in
                the Federal Courthouse absent permission from the Office of the U.S.
                Marshal.

          7.    The conference shall be conducted without a court reporter and will not be
                tape recorded. All representations and statements made at the
                conference shall remain confidential.

          8.    The parties are not required to submit any statements/documentation in
                preparation for the conference.

          9.    Counsel shall remind their clients that they must bring proper
                identification (ex. driver’s license) and that mobile phones are not
                permitted inside the Courthouse.

          10.   In the event this matter settles prior to the conference, the parties shall
                immediately advise the undersigned’s chambers.

          DONE AND ORDERED in Chambers at Miami, Florida, this 26th day of May,

  2021.



                                     JOHN J. O'SULLIVAN
                                     CHIEF UNITED STATES MAGISTRATE JUDGE


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